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                    EXHIBIT 27
         Case 2:10-md-02179-CJB-DPC Document 11988-28 Filed 12/16/13 Page 2 of 2



 From:      glen temer [glenlerneresq@aol.com)
 Sent:      Wednesday, March 20, 2013 5:45 PM
 To:        Susan DeSantis
 Subject: Re: Checks from Andry
ok
On Mar 20, 2013, at 3:34 PM, Susan DeSantis wrote:

         Your 40% will be in a draw not referral.


         From: glen lerner [mailto:glenlerneresq@aol.comj
         Sent: Wednesday. March 20, 2013 5:25 PM
         To: Susan DeSanus; Jonathan Andry
         Cc: Jeff Cahill
         Subject: Re: Checks from Andry

         I’m confused on Thon. I am supposed to give referral attorney 50%, correct’? That was our
         deal with him. If fee was $33k and you send me $16K for my end and I’m supposed to
         send him the full $1 6k then I got no fee. Sani as the last refenal.
         On Mar 20, 2013, at 3:20 PM, Susan DeSantis wrote:

               I am mailing you the following checks from AndryLemer:

               1411   $50,000 (40% of $125,000 draw)
               1412   $335333 (balance from the previous 40% draw)
               1269   $2958.39 (50% referral fee for Lemer Lead)
               1115   $2964.Q0 (40% of Attorney fees ($7410) for Tony Riley’s VOO
               &
               1308   $16665.21 (50% Casey Thonn referral fee)

               Please feel free to call with any questions.
               Regards,
               Susan
               770-296-0873



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              nt this message, and destroy the original message. Thank you.

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7/30/2013
